                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

                                      NO. 7:20-CR-43-D



   UNITED STATES OF AMERICA

        v.                                                            ORDER

   JESUS PACHECO



       On motion of the Defendant Jesus Pacheco, and for good cause shown, it is hereby

ORDERED that the document filed at Docket Entry 36 be sealed until further notice by this

Court. This document shall be filed under seal and will remain so sealed until otherwise ordered

by the Court, except that copies may be provided to Counsel for the Government and Counsel for

the Defendant.

       IT IS SO ORDERED.

       This the   4   day of October, 2020 .




                                            .JES C. DEVER III
                                            United States District Judge




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